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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

JOE ANDREW SALAZAR,                               §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §   CIVIL ACTION NO. 2:16-CV-01096-JRG
                                                  §
HTC CORPORATION,                                  §
                                                  §
                Defendants.                       §
                                                  §


                                            ORDER

       Before the Court is Defendant HTC Corporation’s (“Defendant” or “HTC”) Motion to

Dismiss Its Counterclaim for Invalidity Without Prejudice, or in the Alternative, Motion for

Judgment as a Matter of Law Pursuant to Federal Rule of Civil Procedure 50(b) (the “Motion”).

(Dkt. No. 290.) Having considered the Motion, and for the reasons that follow, the Court finds that

the Motion should be and hereby is DENIED.

  I.   BACKGROUND

       On October 5, 2016, Plaintiff Joe Andrew Salazar (“Plaintiff”) filed a patent infringement

suit against HTC. (See generally Dkt. No. 1.) HTC answered the Complaint on February 28, 2018,

and asserted declaratory judgment counterclaims of noninfringement and invalidity for the only

patent-at-suit—U.S. Patent No. 5,802,467 (the “’467 Patent”). (Dkt. No. 170 at 7–8.)

       On May 7, 2018, a jury trial commenced in this case on both infringement and invalidity

of the ’467 Patent. On May 10, 2018, and after the close of evidence, the Court held an informal

charge conference to discuss the final jury instructions and verdict form with counsel. (Dkt. No.

268.) Based on these discussions, the Court then generated its proposed final jury instructions and
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proposed final verdict form. A formal charge conference was then held on the record, and pursuant

thereto, the jury instructions and verdict form to be submitted to the jury were finalized.

       The final verdict form included an instructional first page that defined terms. (Dkt. No. 272

at 1.) The bottom of the first page included the instruction “PROCEED TO THE NEXT PAGE.”

Question 1, located on page two, dealt with infringement and the same instruction was included at

the bottom of that page. (Id. at 2.) Question 2, located on page three, dealt with invalidity, and

again, the same instruction was included at the bottom of that page. (Id. at 3.) Additional

instructions on page four directed the jury to answer no further questions if they had answered no

as to infringement by all accused products in Question 1 or yes as to invalidity of all asserted

claims in Question 2. (Id. at 4.) However, these instructions clearly followed Questions 1 and 2 on

a subsequent page, and they were only to be followed after the jury had completed and answered

Questions 1 and 2. At the formal charge conference, neither of the parties objected to any part of

this final verdict form, including the instructions on answering the questions. (Dkt. No. 282,

05/10/2018 PM Hr’g Tr. at 65:4–13.)

       On May 12, 2018, the Court instructed the jury that “invalidity and infringement are

separate and distinct issues that must be decided separately” and that the jury’s job was “to decide

whether the asserted claims of the ’467 patent have been infringed and whether any of the asserted

claims of the ’467 patent are invalid.” (Dkt. No. 283, 05/11/2018 Hr’g Tr. at 15:25–16:4.) The

Court further instructed the jury to “[a]nswer each question in the verdict form from the facts as

you find them to be from the evidence presented in this case.” (Id. at 82:18–20.)

       The jury then deliberated and reported that it had reached a verdict. Upon reviewing the

verdict form, the Court determined that the jury had answered Question 1 regarding infringement

(finding no infringement) but the jury had not answered any of the remaining questions in the



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verdict form, including Question 2 regarding invalidity. The Court held a bench conference with

counsel during which the following exchange took place:

       THE COURT: The jury has answered Question 1 with regard to infringement as
       “no” to each of the accused products. However, the jury has not answered Question
       2 with regard to invalidity of the patent-in-suit. The instructions that follow
       Question 2 provide that if they've answered “no” to Question 1, they should not
       answer any further questions, but that instruction is after Question 2, and since there
       is a live declaratory judgment action for invalidity, the jury should answer Question
       2. At this point, I need the Defendants to tell me if they want me to send the jury
       back and instruct them to answer Question 2 on validity or they want me to accept
       the verdict with the answers to Question 1 only.
       ....
       [DEFENDANT’S COUNSEL:] Your Honor, the Defendant will elect to accept the
       verdict.
       [THE COURT]: All right. So the Defendant has no objection to me accepting the
       verdict with only Question 1 being answered?
       [DEFENDANT’S COUNSEL:] That’s correct, Your Honor.

(Id. at 87:12–88:16.) Based on HTC’s counsel’s representations, the Court accepted the verdict

with only Question 1 having been answered as to infringement.

       On May 18, 2018, the Court entered final judgment that HTC did not infringe any of the

asserted claims of the ’467 Patent. (Dkt. No. 284.) The final judgment did not address the issue of

invalidity. (See id.) The Court also directed the Clerk to close the case. (See id. at 2.)

 II.   ANALYSIS

       In its Motion, HTC argues that the Court should dismiss its invalidity counterclaim without

prejudice, or in the alternative, sever and stay the counterclaim, or enter judgment as a matter of

law under Rule 50(b). (See generally Dkt. No. 290.) Plaintiff responds that HTC withdrew its

invalidity counterclaim at the close of trial so there is no live issue for the Court to decide, and the

counterclaim should be dismissed with prejudice.

       HTC argues that “[b]ecause HTC Corp. pleaded and proved the counterclaim but it was

not decided by the jury, the claim should be resolved at this time.” (Dkt. No. 290 at 1.) HTC’s



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argument ignores a crucial fact—validity was not decided by the jury because HTC specifically

chose not to have it decided by the jury, after the Court provided HTC a clear and express

opportunity to do so.

       Contrary to HTC’s assertions, the present facts are distinguishable than those of

Flexuspine. Flexuspine, Inc. v. Globus Medical, Inc., 879 F.3d 1369 (Fed. Cir. 2018). The verdict

form in Flexuspine included a stop instruction1 before the jury was to answer the invalidity

question. Id. at 1371. After the jury reported that they had reached a verdict, and upon reviewing

the verdict form, the Court determined that the jury had answered “no” to question 1 as to

infringement but they had ignored the stop instruction, and proceeded to answer questions 2 and 3

regarding invalidity and damages. Id. at 1372. After consulting with the parties, who did not raise

any objections, the Court instructed the jury to retire again with a blank verdict form and complete

a new verdict. Id. The jury then returned a verdict form with only question 1 as to infringement

answered. Id.

       Here, the verdict form contained no such stop instruction. Rather, the form instructed the

jury to answer both Question 1 as to infringement and Question 2 as to invalidity before the stop

instruction, which preceded Question 3 on a subsequent separate page. The Court reviewed the

verdict form and determined that the jury had not answered Question 2 regarding invalidity. Fully

aware of HTC’s invalidity counterclaim, the Court asked HTC’s counsel to elect whether to accept

the verdict form with only Question 1 as to infringement answered and forego HTC’s invalidity

counterclaim, or to instruct the jury to retire again and answer Question 2 on invalidity. (Dkt. No.

283, 05/11/2018 Hr’g Tr. at 87:12–88:16.) HTC voluntarily elected to accept the verdict with only



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  That stop instruction read “ANSWER THIS QUESTION ONLY AS TO THOSE CLAIMS YOU ANSWERED
‘YES’ TO IN QUESTION 1 [the infringement question] ABOVE—OTHERWISE DO NOT ANSWER THIS
QUESTION.” Flexuspine, 879 F.3d at 1369.

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Question 1 answered. (Id.)

       The Court finds that HTC’s strategic election to accept the verdict constitutes waiver of

HTC’s right to have a jury decide its invalidity counterclaim. Cf. Strattec Sec. Corp. v. General

Automotive Specialty Co., Inc., 126 F.3d 1411, 1419 (Fed. Cir. 1997) (finding no waiver when a

jury did not reach an issue because a stop instruction precluded it from doing so). The issue of

validity of the ’467 Patent was fully submitted and tried to the jury. Indeed, both parties presented

full evidence including experts who testified as to the ’467 Patent’s validity. With the Court’s

instructions after seeing the tendered verdict form, the jury would have reached and answered the

issue of validity but for HTC’s election to accept the verdict without the jury being so instructed.

       As HTC has waived its right to have a jury determination of its counterclaim, a motion

pursuant to Rule 50(b) is improper and should be denied.

III.   CONCLUSION

       For the reasons stated above, the Court DENIES that Defendant’s Motion to Dismiss Its

Counterclaim for Invalidity Without Prejudice, or in the Alternative, Motion for Judgment as a

Matter of Law Pursuant to Federal Rule of Civil Procedure 50(b) (Dkt. No. 290).

       In light of HTC’s waiver, this Court, having heard all the evidence during the trial, will

proceed to make both findings of fact and rulings of law with a resulting judgment regarding the

validity the ’467 Patent. See Liquid Dynamics Corp. v. Vaughan Co., Inc., 655 F.3d 1361, 1371

(Fed. Cir. 2004) (“A district court faced with an invalidity counterclaim challenging a patent that

it concludes was not infringed may either hear the claim or dismiss it without prejudice, subject to

review only for abuse of discretion.”). As this issue has been fully tried before this Court, and

Defendant has waived its right to a jury determination as to validity, it falls to this Court to

proceed on the current record to adjudicate the same.



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       Accordingly, the Court hereby ORDERS that each party separately submit proposed

findings of fact and conclusions of law addressing the validity of the ’467 Patent by March 18,
    .
2019. The proposed findings of fact and conclusions of law should be fully documented with

citations to the exhibits, the trial transcript, and any other evidence that is properly before the

Court. The Court will consider a failure to cite direct and accurate support for any proposition in

the proposed findings of fact and conclusions of law as potentially sanctionable conduct.

Additionally, separately from their filings with the Clerk of Court, each party shall email its

submissions in Word format to the Court.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 7th day of March, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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